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Debtor 4 Randall R. Gengenbach EF [)
First Name Middle Name Last Name

Debtor 2 ? -9 PHI2: 45

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the District of Nebraska : Tey

Case number: 20-41243 BSK

Form 1340 (12/23)
APPLICATION FOR PAYMENT OF UNCLAIMED FUNDS

1. Claim Information

For the benefit of the Claimant(s)' named below, application is made for the payment of unclaimed funds on deposit with
the court. | have no knowledge that any other party may be entitled to these funds. and | am not aware of any dispute

iegarding these funds.

Note: If there are joint Claimants, complete the fields below for both Claimant

Amount: $ 20,739.59

Claimant's Name: Pioneer & PHI Financial Services, Inc. (Subsidiary of Corteva)

Street Address; 7100 NW 62nd Ave. Box 1050

Claimant's Current Mailing
Address, Telephone Number, (City: Johnston State:_lA Zip Code: _50131

and Email Address: Phone Number: 515-535-4432

Email Address: _kimjones@corteva.com

2. Claimant Information
Applicant? represents the following:

fe] The Claimant is the Owner of Record? entitled to the unclaimed funds appearing on the records of the court.

TC The Claimant (Successor Claimant) is entitled to the unclaimed funds by transfer, assignment, purchase, merger,
acquisition, or succession by other means, and below are the name(s) of the Owner of Record and all previous
owner(s) of the claim:

CT If the Claimant is a Successor Claimant, Applicant has sent a copy of the application to the Owner of Récord and
ail other previous owner(s) of the claim at their current address or Applicant has enclosed a statement explaining
why Applicant was not able to do so or an explanation of why doing so is not necessary.

3. Applicant Information

Applicant represents the following:

f=] Applicant is the Claimant.
C) Applicant is Claimant's representative (e.g., attorney or unclaimed funds locator).
CL) Applicant is a representative of the deceased Claimant's estate.

' The Claimant is the party entitled to the unclaimed funds.
2 The Applicant is the party filing the application. The Applicant and Claimant may be the same.
3 The Owner of Record is the original payee.
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4. Supporting Documentation

O

required supporting documentation with this application

Applicant has read the court’s instructions for filing an Application for Unclaimed Funds and is providing the

5. Notice to United States Attorney
{] Applicant has sent a copy of this application and suppo
pursuant to 28 U.S.C. § 2042, at the following address:

Office of the United States Attorney
Attn: Eric Synowicki

1620 Dodge Street, #1400

Omaha, NE 68102-1321

rting documentation to the United States Attorney,

6. Applicant Declaration

Pursuant to 28 U.S.C. § 1746, | declare under penalty of
perjury under the laws of the United States of America that
the foregoing is true and correct and any fraud in the
application or supplemental materials may result in criminal
penalties, see, e.g, 18 U.S.C. § 152.

Date: 08/30/2024

6. Co-Applicant Declaration (if applicable}

Pursuant to 28 U.S.C. § 1746, | declare under penalty of
perjury under the laws of the United States of America
that the foregoing is true and correct and any fraud in the
application or supplemental materials may result in
criminal penalties, see, e.g. 18 U.S.C. § 152.

Date:

Signature of Applica

Kimberly Tones

Signature of Co-Applicant (if applicable)

Printed Name of Applicant

Address: 7100 NW 62nd Ave Box 1050
Johnston, IA 50131

Telephone: 515-535-4432

Email: kim.jones@corteva.com

Printed Name of Co-Applicant (if applicable)

Address:

Telephone:

Email:

7. Notarization

STATEOF ~1_9uWJOu
county of _ Pa lK

This Application for Unclaimed Funds, dated
i 20 A was subscribed and sworn to before
me this day of Ser emiser, 20.2N by

Aiwmnberly ones

7. Notarization
STATE OF

COUNTY OF

This Application for Unclaimed Funds, dated
was subscribed and sworn to before
day of , 20 by

me this

who signed above and is' personally known to me (or
proved to me on the basis of satisfactory evidence) to be
the person whose name is subscribed to the within
instrument. WITNESS my hand and official seal.

{Notariai wording fo be adjusted based on stafe
requirements]

Aad Maryse Croff
S LU} Commissio Paddia
aa * My Commission Expires
Jun issionlexpires: QUw2 2% Lo

who signed above and is personally known to me (or
proved to me on the basis of satisfactory evidence) to be
the person whose name is subscribed to the within
instrument. WITNESS my hand and official seal.

[Notarial wording to be adjusted based on state
requirements}

(SEAL)

Notary Public

My commission expires:

Form 1340 - 12/1/2023 Application for Payment of Unclaimed F

US Bankruptcy Court, 111 S 18th Plaza,

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unds to:
#1125, Omaha, NE 68102

